INSPECTION REQUIREMENTS
                                                                          Apri119, 2010



GENERAL REQUIREMENTS
When conducting an inspection, the inspector must be accompanied by the licensee,
registrant, or the facility's designated representative (who must be at least 18 years of
age). IMPORTANT:
•       Do not enter facilities with locked gates and/or No Trespassing signs unless prior
        approval has been obtained from the facility.
•       If you do not find anyone at the facility, follow the procedure to complete an
        attempted inspection.
•       Prior to notifying the facility of your presence, inspectors may observe and record
        findings without being accompanied by a facility representative at facilities that
        are open to the public. Before documenting findings on an inspection report, the
        inspector must discuss the findings with a facility representative.
•       A complete exit briefing must be conducted.

The following inspection aids are available to assist with inspections:
       • Checklist for Animal Care Inspection sheet
       • Canine Care Checklist
       • Traceback SOP for random source B dealers
       • Inspector Safety and Etiquette When Inspecting Non-Domestic Animals
       • Guidance for identifying Direct NCis
       • Enforcement Actions (EA) Guidance for Inspection Reports, which includes
          guidance for the appropriate action to recommend
       • Current RBIS

In all situations, follow the facility's biosafety procedures that they have in place for
visitors, and/or put on recommended protective clothing, gear and/or boots. During dog
kennel inspections, inspectors should wear disposable shoe covers. Inspectors should
wear disposable gloves if it is necessary to touch an animal (at all facilities).

NOTE: The licensee is responsible for ensuring the safety of the inspector from the
animals. If you feel unsafe, ask the licensee to correct the situation. Ifthe licensee does
anything you feel is unsafe you should state that you will leave the facility immediately
unless the situation is corrected. If you feel you are in imminent danger, safely leave the
area.


INSPECTION STEPS
Basic steps to follow in conducting an inspection of a facility include, but are not limited
to:
        • Inspect the animals, premises, building(s), enclosures, equipment, and
           transportation vehicles/equipment for all pertinent requirements of the
           regulations and standards.
       • Consider problems that may occur at other times of the year.
                                              1

     Case 6:14-cv-02034-JSS Document 70-37 Filed 10/16/15 Page 1 of 7
                                      Case #C14-02034-JSS                      EXHIBIT 38 PAGE 0001
        •   Review the facility's program of veterinary care, husbandry practices,
            required records, and when appropriate, the "Exercise Plan" for dogs and
            "Plan for Environmental Enrichment" for nonhuman primates
        •   For big cats, review the feeding plan to assure adequate nutrition
        •   When possible, observe the animal handling techniques of facility personnel.


DOCUMENTING INSPECTION FINDINGS
Inspection findings must be documented in the narrative section of the inspection report.
Do not type any personal identifiable information (PII) in the narrative of any inspection
report, including addresses and phone numbers.

No NCis identified --If all items are in compliance, then the following statement should
be typed on the inspection report: No noncompliance identified on this inspection.

For inspections in response to an incident or complaint, often further review (and/or an
IES investigation) is needed to determine compliance. If you are not certain whether
noncompliance was involved, do not cite "no noncompliance" under those circumstances.
The following stand-alone statement should be typed on the inspection report: "The
(incident) is under review."

New NCis identified-- If a new NCI(s) is identified, it should be cited in the inspection
report narrative. The citation should include the following:
            1. The section number and most specific subsection letter/number of each
                noncompliance, and the text of the regulation or standard being cited.
                NOTE: The regulation/standard may be quoted or paraphrased
            2. A clear, detailed description of the noncompliance, including when
                appropriate, the number of animals affected
            3. An explanation of why the item is a noncompliance and/or the impact it is
                having on the animals
            4. A correction deadline and a "general" description of what the
                licensee/registrant needs to do to correct the problem, and assure that it
                doesn't continue/recur. This description should not be worded in such a
                way that it could be interpreted that AC is mandating how an NCI is going
                to be corrected. A correction deadline should be appropriate to the
                severity of the NCI, and unless animal welfare will be put in jeopardy, be
                realistic as to what the facility can accomplish.

Use "Direct" NCI designation, if appropriate.

If a noncompliant item falls into more than one section or subsection, cite the
noncompliance only in the most applicable section or subsection for each species
affected.

Repeat NCI identified-- A repeat noncompliant item must be designated on the
inspection report whenever an NCI of the same section & subsection was cited on the last
inspection. This applies even if different animals and/or different portions of the facility
are involved.

                                             2

     Case 6:14-cv-02034-JSS Document 70-37 Filed 10/16/15 Page 2 of 7
                                      Case #C14-02034-JSS                     EXHIBIT 38 PAGE 0002
NOTE: An NCI may be designated as a "repeat" if the same section, subsection, and/or
issue were cited on a prior inspection report, even if it was not the most recent inspection.
For these NCis, inspectors should use their professional judgment in deciding whether to
cite the NCI as a new or repeat NCI. Your SACS can provide guidance in these
situations.

NOTE: When determining whether to cite an IACUC NCI as a repeat, it is critically
important that you drill down to the most specific subsection.

NOTE: In the narrative for a repeat NCI, the regulation/standard quote may be omitted,
but components 2 and 3 of an NCI narrative (listed above) must be included. Also, do
not assign a new correction date for repeat NCis.

Use "Direct" NCI designation, if appropriate.

For all repeat NC/s, you must communicate with your SACS to recommend an
enforcement option.

"Direct" NCI identified-- A "Direct" noncompliance is a noncompliance that is currently
adversely affecting the health and well-being of the animal, or has the high potential to
adversely affect the health and well-being of the animal in the near or immediate future.
The correction deadline for a "Direct" noncompliance should be short and never exceed 30
days, and a complete or partial reinspection of a facility with a "Direct" NCI must be
completed no more than 45 days after the date of the inspection. The reinspection must be
conducted at the facility even if the "Direct" NCI was corrected during the inspection. For
a serious direct noncompliance, such as a severe veterinary care problem, the correction
date should be very short, e.g., 1 day, and the reinspection should occur the next day and/or
whenever needed to verify the correction and ensure animal welfare. Examples of"Direct"
versus indirect NCis are provided in the Direct NCI Guidance handout.

For all "Direct" NCis, you must communicate with your SACS to recommend an
enforcement option.

Exit Briefing - - An exit briefing is required for all inspections, unless your personal
safety is at risk, or harassment, verbal abuse, or other factors are interfering with the
inspection process. Take as much time as necessary during the exit briefing to:
        • summarize everything that occurred during the inspection,
        • discuss the noncompliant items in detail with the licensee or facility
             representative,
        • discuss what he/she may do to correct the problem (if asked),
        • make sure that facility representative understands what is expected of him/her,
        • educate him/her about animal welfare and the A WA regulations and
             standards,
        • obtain a signature and/or explain to the facility representative how the
             inspection report will be delivered.

Unless an exit briefing could not be completed, a statement must be included on all
                                             3

     Case 6:14-cv-02034-JSS Document 70-37 Filed 10/16/15 Page 3 of 7
                                      Case #C14-02034-JSS                      EXHIBIT 38 PAGE 0003
inspection reports stating "An exit briefing was conducted with the licensee (or registrant
or facility representative)." NOTE: do not use names.

NOTE: If the inspection report is to be delivered by email or certified mail, you must still
conduct a detailed and thorough exit briefing. Any item that you will be citing on the
inspection report must be discussed during the exit briefing.

Signature on the Inspection Report - - The inspector and the licensee or his/her
representative should sign all pages ofthe inspection report. The signature of the
licensee or his/her representative certifies that the person received a copy of the
inspection. It does not necessarily mean that the person agrees with the findings of the
inspection. If the facility representative refuses to sign the inspection report, you should:
    a) leave a copy of the inspection report with the representative after noting on the
        inspection report that you are doing so, or,
    b) leave a copy of the inspection report with the representative and send a copy via
        certified mail.
Any facility with a disagreement about the inspection findings may follow the inspection
appeals process; the process is described on AC's website. If the licensee or registrant
refuses to sign the inspection report, explain the circumstances in the narrative, and leave
the signature block blank.

Delivery of the Inspection Report - - Unless you obtain supervisory approval to do
otherwise, hand delivery is required for inspection reports with Direct NCis. Although
hand delivery is preferred for other inspections as well, they may be delivered via email
or certified mail. For all delivery methods, the inspection report must arrive at the
facility before the earliest correction deadline or within 5 days post inspection, whichever
is earlier. If you cannot meet this deadline, you must obtain supervisory approval.

If sent by email, the inspector must request an email reply verifying receipt of the
inspection report by the facility. The email receipt must accompany the original
inspection report into the regional office. If an email reply is not received, the inspector
must deliver the report by another method so that receipt can be verified.

Note: A reinspection conducted to evaluate a particular direct or repeat NCI only,
should be identified as a "focused reinspection •• in the inspection report narrative. A
focused reinspection must include an exit briefing.


INSPECTION PHOTOGRAPHS
Photographs must be taken to document photographable noncompliant item(s) in all of
the following situations.
    • Direct NCis and all NCis on an inspection with a Direct
    • Repeat NCis and all NCis on an inspection with a Repeat
    • All NCis cited at a facility with an ongoing case
    • NCis that are likely to be appealed
    • Transportation (airline) NCis
    •   3rd prelicense inspections to document NCis, or to show that the facility was
        actually in full compliance (include photos showing NCis that were documented
                                              4

     Case 6:14-cv-02034-JSS Document 70-37 Filed 10/16/15 Page 4 of 7
                                       Case #C14-02034-JSS                      EXHIBIT 38 PAGE 0004
         on prior prelicense inspections were corrected)
    •    If there are repeat, direct, or transportation records noncompliances, the records
         must be photocopied or photographed.

All photographs that are to be retained must be labeled and uploaded into ACIS no later
than 2 weeks after the inspection. Photos that do not need to be retained should be
deleted by the inspector.



POST INSPECTION PROCEDURES
For all inspection interference and refusal occurrences, and for all inspection reports that
document a repeat or "Direct" NCis, or, result in an "unsatisfactory" RBIS rating (based
on the ratio of animals inspected and points assigned), you must discuss the finding( s)
with your SACS to recommend an enforcement option.



RBIS
You must inspect the facilities below on or before the deadline given in ACIS; if you
cannot, you must contact your SACS prior to the deadline so that another inspector can
be assigned to conduct the inspection.
    • Direct NCis
    • HIF Facilities
    • Facilities with repeats for which a 90 day re-inspection was the enforcement
        option selected

All research facilities must be inspected at least once every fiscal year.


ATTEMPTED INSPECTION
All animal welfare inspections, with the exception of prelicense inspections, are to be
conducted on an unannounced basis. An attempted inspection occurs when an authorized
person is not available to accompany the inspector, and no inspection is conducted.
NOTE: The person accompanying the inspector must be an adult, i.e., 18 years of age or
older.

If nobody is present at the facility, you should call the phone number(s) provided by the
licensee/registrant to contact him/her, and determine if an authorized person can be at the
facility within 30 minutes. You should wait for 30 minutes, and if nobody shows up you
should cite Section 2.126(b), and the narrative should read: "On (date) at (time), licensee
failed to have a responsible person available to conduct an animal welfare inspection."
NOTE: Use section 2.38(b) for registered research facilities.

Inspection reports citing Section 2.126(b) or Section 2.38(b) should be sent to the
licensee or registrant by both regular and certified mail.




                                              5

        Case 6:14-cv-02034-JSS Document 70-37 Filed 10/16/15 Page 5 of 7
                                       Case #C14-02034-JSS                      EXHIBIT 38 PAGE 0005
PRELICENSE INSPECTION
An applicant's facility must meet all applicable regulations and standards to obtain a
license. Prelicense inspections are scheduled at a time agreeable to the applicant and the
inspector. In addition to determining if a facility is in full compliance, prelicense
inspections are the best time to educate the applicant about the A WA regulations and
standards. Required written records must be completed and inspected during a prelicense
inspection in order to consider the facility in compliance, including the PVC, exercise
plan for dogs, environmental enhancement plan for primates. There must be a written
record of animals on hand with as much of the required information completed as
possible.

If the facility is not in full compliance, cite all noncompliant items using the first 3
components of the four-part citation description above (see "New NCis Identified"), but
do not give correction dates. The following or similar statement must be included in the
narrative: All items must be in compliance within (number ofprelicense inspections left;
1 or 2) more inspections or by (date-90 days from F 1 prelicense inspection) or the
applicant will forfeit the application fee and must wait 6 months to reapply. No regulated
activities may be conducted until a USDA license is issued.

If a 3rd prelicense inspection is necessary, a 2"d inspector or supervisor must be present
during the inspection, and photographs must be taken to document the condition of the
facility.

For an applicant with large carnivores, elephants, great apes, and/or marine mammals, in
addition to any NCis that are cited, the inspector must include the following statement on
the inspection report: "the animal enclosures, handling practices, and employee
qualifications are under review." The responsible inspector must then contact his/her
SACS as well as the appropriate species specialist to discuss and review the enclosures,
handling practices, and qualifications.


REFUSAL OF INSPECTION
If a licensee refuses to allow an inspection, be sure that you have clearly identified
yourself as a USDA Animal Care inspector and that the person refusing to allow the
inspection is aware of the serious nature ofthis violation of the A WA regulations. Unless
the situation has escalated to the point at which you don't feel safe, you should ask the
specific question: "Are you refusing to allow the inspection?" If the licensee still refuses
to allow an inspection, leave the premises and complete an inspection report designating
this as a Routine inspection. Section 2.126(a) should be cited, and you should document
the specific circumstances of the refusal in the inspection report narrative; be specific as
to date, time, and the identification of the person who refused to allow the inspection.
Also include any pertinent statements made by the licensee or registrant. NOTE: Use
Section 2.38(b) for registered research facilities. If two or more APHIS officials are
present for the inspection and one is denied entry, document this as a refusal of
inspection: do not conduct an inspection. Inspection reports for refusals should be sent to
the licensee or registrant by both regular and certified mail.



                                             6

     Case 6:14-cv-02034-JSS Document 70-37 Filed 10/16/15 Page 6 of 7
                                      Case #C14-02034-JSS                      EXHIBIT 38 PAGE 0006
For any 'refusal to allow inspection', you must communicate with your SACS to
recommend an enforcement option and develop a plan for follow up inspection.


INTERFERENCE
If you are being harassed, verbally abused, or interfered with in the course of carrying out
inspections, you should inform the licensee or applicant that the inspection can only
continue if the harassment, verbal abuse, or interference stops. If it continues, you should
discontinue the inspection process and leave the premises. Write an inspection report
citing Section 2.4 (NOTE: Use Section 2.30(d) for registered research facilities), and in
the narrative, be specific as to date, time, and the identification of the persons involved.
You should also include details ofthe harassment and/or verbal abuse and/or
interference. The inspection report should be sent to the licensee or registrant by regular
and certified mail.

For any 'interference with the inspection' you must communicate with your SACS
to recommend an enforcement action and develop a plan for follow up inspection. If
you are being threatened, follow procedures to ensure your safety, including but not
limited to leaving the premises and calling 911 if necessary. In that circumstance,
you should consult with your supervisor after your personal safety is assured with
regard to future steps.


CORRECTING, RESCINDING, AND AMENDING INSPECTION
REPORTS
This should be done on a case by case basis under the direction of your SACS or
Regional Office.




                                             7

     Case 6:14-cv-02034-JSS Document 70-37 Filed 10/16/15 Page 7 of 7
                                      Case #C14-02034-JSS                     EXHIBIT 38 PAGE 0007
